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                                                            Tuesday, 07 November, 2017 05:19:22 PM
                                                                        Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Case No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

       DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE TO
DEFENDANT’S MOTION TO CONTINUE FINAL PRETRIAL AND TRIAL DATES

       The Defendant, Brendt A. Christensen, through his undersigned attorneys,

submits this Reply to the government’s response to his Motion to Continue the Final

Pretrial and Trial Dates (hereinafter “Motion”). (R. 29)

I.     Procedural Background

       On July 12, 2017, a grand jury of this district returned a non-capital indictment,

charging Mr. Christensen with violating 18 U.S.C. § 1201. On August 23, 2017, his then-

retained counsel filed a motion to continue the trial from its then-scheduled date of

September 12, 2017, which the government joined. Five days later the government

informed the Court that it intended to seek a superseding capital-eligible indictment.

Retained counsel then moved to withdraw and on September 8, 2017, the Court

appointed the office of the Federal Public Defender to represent Mr. Christensen. On the

same date the Court set the case for trial on February 27, 2018.




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       In recognition of the fact that the Superseding Indictment requires that this case

be treated as a capital prosecution, the Court promptly appointed learned counsel. On

October 24, 2017, new counsel moved the Court for an Order continuing the trial of this

presently-presumptive capital case until October 2018, and to establish deadlines

relevant to the capital-case authorization process. See Motion.

       On November 2, 2017, the government filed a Response to the Defendant’s

Motion to Continue Final Pre-Trial and Trial Dates (hereinafter “Response”), opposing

the defendant’s request at this time. (R. 30) The government argues that the trial date

should stand unless it files a Notice of Intent to Seek Death (NOI) and requests that the

Court set a date of February 1, 2018, to inform the Defendant and the Court whether it

intends to seek the death penalty. The government reasons that the defense will not be

prejudiced by such a procedure because: (a) if the NOI is not filed by February 1, the

trial can proceed on February 28; and (b) if a NOI is filed, the defendant will not be

prejudiced because a new trial date can be set at that time. Response, at 8-9.

       The government is wrong on both counts.

II.    Regardless of Whether the Government Later Files a NOI, the Ends of Justice
       Require a Substantial Continuance

       Because the Speedy Trial Act, 18 U.S.C. § 3161 et seq. provides various time limits

and exclusions, the immediate issue presented by the defendant’s Motion is whether

“the ends of justice served by [a continuance] outweigh the best interest of the public

and the defendant in a speedy trial.” 18 U.S.C. 3161(h)(7)(A). In determining whether to

continue a trial beyond the otherwise applicable time limits, a court should consider the



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unusual nature or complexity of the case, the likely existence of “novel questions of fact

or law,” whether a failure to do so would result in a “miscarriage of justice” and

whether “it is unreasonable to expect adequate preparation for pretrial proceedings or

the trial itself within the time limits established by this section.” § 3161(h)(7)(B)(i & ii);

see IV, infra.

        A.       In Order to Provide Mr. Christensen with the Effective Assistance of
                 Counsel Required by the Sixth Amendment, Counsel Must Have
                 Sufficient Time to Investigate and Prepare

        Setting aside the potential capital aspect of this case, upon conviction this

twenty-nine- year old defendant, with no prior criminal history and a recent graduate

of a Master’s Program at the University of Illinois, faces a minimum sentence of life

without parole, the “second most serious punishment permitted by law.” Harmelin v.

Michigan, 501 U.S. 957, 1001 (1991). This places an enormous responsibility on defense

counsel, two of whom have full caseloads requiring travel throughout the large

geographic area of the Central District of Illinois.




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         The scope of counsel’s duty to conduct both factual1 and legal2 investigations is

set out in the ABA Standards for Criminal Justice: Prosecution and Defense Function. See


1
    See: Standard 4-4.1: Duty to Investigate and Engage Investigators

  (a) Defense counsel has a duty to investigate in all cases, and to determine whether there is a
sufficient factual basis for criminal charges.
  (b) The duty to investigate is not terminated by factors such as the apparent force of the
prosecution’s evidence, a client’s alleged admissions to others of facts suggesting guilt, a client’s
expressed desire to plead guilty or that there should be no investigation, or statements to defense
counsel supporting guilt.
   (c) Defense counsel’s investigative efforts should commence promptly and should explore
appropriate avenues that reasonably might lead to information relevant to the merits of the
matter, consequences of the criminal proceedings, and potential dispositions and
penalties. Although investigation will vary depending on the circumstances, it should always be
shaped by what is in the client’s best interests, after consultation with the client. Defense
counsel’s investigation of the merits of the criminal charges should include efforts to secure
relevant information in the possession of the prosecution, law enforcement authorities, and
others, as well as independent investigation. Counsel’s investigation should also include
evaluation of the prosecution’s evidence (including possible re-testing or re-evaluation of
physical, forensic, and expert evidence) and consideration of inconsistencies, potential avenues
of impeachment of prosecution witnesses, and other possible suspects and alternative theories
that the evidence may raise.
   (d) Defense counsel should determine whether the client’s interests would be served by
engaging fact investigators, forensic, accounting or other experts, or other professional
witnesses such as sentencing specialists or social workers, and if so, consider, in consultation
with the client, whether to engage them. Counsel should regularly re-evaluate the need for such
services throughout the representation. (Emphasis added).

2
    Standard 4-3.7: Prompt and Thorough Actions to Protect the Client
  (f) For each matter, defense counsel should consider what procedural and investigative steps to
take and motions to file, and not simply follow rote procedures learned from prior
matters. Defense counsel should not be deterred from sensible action merely because counsel
has not previously seen a tactic used, or because such action might incur criticism or
disfavor. Before acting, defense counsel should discuss novel or unfamiliar matters or issues
with colleagues or other experienced counsel, employing safeguards to protect confidentiality
and avoid conflicts of interest. (Emphasis added); see also Standard 4-3.3(v)(duty to discuss
potential motions with client); 4-5.2(d)(duty to confer with counsel concerning crafting of
response to motions).



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https://www.americanbar.org/content/dam/aba/publications/criminal_justice_stand

ards/prosecution_defense_function.authcheckdam.pdf. One size doesn’t fit all, as the

scope of required investigation and preparation in a misdemeanor case will not be

coextensive with that of a serious felony. Common-sense suggests the seriousness of the

charge and potential penalties are important guideposts to counsel’s responsibilities.

“While defense counsel has the obligation to render effective, quality representation in

all criminal cases, defense counsel in a capital case must, given this extraordinary

penalty, make extraordinary efforts on behalf of the accused. . . . [and] . . . leave no stone

unturned in the investigation and defense of a capital client.” Id. Standard 4-1.2, The

Function of Defense Counsel, Commentary, Role of Defense Counsel in a Capital Case.

       As this implies, there are no shortcuts to be taken in a potential death penalty

case. In recognition thereof, the ABA has promulgated standards of performance

required in capital cases. See generally American Bar Association Guidelines for the

Appointment and Performance of Defense Counsel in Death Penalty Cases (Revised

edition 2003), reprinted at 31 Hofstra Law Review 914 (2003) (ABA Death Penalty

Guidelines),

https://www.americanbar.org/content/dam/aba/migrated/2011_build/death_penalt

y_representation/2003guidelines.authcheckdam.pdf. Recognizing that capital cases are

different, these Standards note:

               [D]efense counsel in such cases have duties and functions
               definably different from those of counsel in ordinary criminal
               cases. At every stage of a capital case, counsel must be aware
               of specialized and frequently changing legal principles and
               rules, become educated regarding a wide range of mental

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                 health issues and scientific technologies, and be able to
                 develop strategies for applying them in pressure-filled
                 environment of high-stakes, complex litigation. The level of attorney
                 competence that may be tolerable in non-capital cases can be fatally
                 inadequate in capital ones.

Id. at 923,3 Guideline 10.1, Commentary.

          While it is unnecessary to itemize these obligations here, it is sufficient to note

that a capital case “requires extensive and generally unparalleled investigation into

personal and family history,” id., Commentary, in addition to counsel’s other

obligations in non-capital cases.4 As noted below, it is not enough to imply, as does the

government, Response at 8, that this extensive required investigation can simply be

postponed until the government decides whether it will file a NOI. As both the ABA

Guidelines and policy promulgated by the Defender Services Committee of the

Administrative Office of the U.S. Courts and the Judicial Conference of the United

States recognize, the mitigation investigation should begin as soon as possible with an

eye to convincing the government not to seek the death penalty, providing not only a

benefit to the defendant but also substantial savings of judicial resources and costs

taxed to the public treasury. See IV, infra.

          Further, review of the partial discovery that has been provided suggest uniquely

time-consuming avenues of investigation ahead in this case beyond those usually


3
    Page cites to these Guidelines and Commentary are to the Hofstra Law Review page numbers.
4
 The daunting breath of the legal and factual investigation and concomitant responsibilities of
counsel in a potential capital case are outlined in Guideline 10.7 – Investigation and
Commentary, id., at 10015-1027, and Guideline 10.8, The Duty to Assert Legal Claims and
Commentary. Id. at 1028-1034.


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encountered, including several purported sights of the alleged victim around the

country, reports that unknown suspicious individuals were lurking around or

surveilling the alleged victim’s apartment on the day of or day before her

disappearance, reports that accounts associated with the alleged victim were logged

into after her disappearance, etc. In addition, the government has provided discovery

suggesting possible 404(b) evidence that will require a separate and detailed factual

investigation.

       B.    The Delayed Production of Rule 16 Discovery

      The defendant’s already difficult task is complicated by the government’s

delayed delivery of Rule 16 discovery. On September 8, 2017, the same day of

appointment, counsel requested, by letter, that the government provide particularized

discovery required by Federal Rule of Criminal Procedure 16. Specifically, counsel

requested:

             a)     to inspect, copy, and photograph any books, papers, documents,
                    photographs, tangible objects, buildings or places which are within the
                    possession, custody or control of the government, and which are
                    material to the preparation of the defense or are intended for use by
                    the government as evidence in chief at trial, or were obtained from
                    or belong to the defendant;

             b)     to inspect, copy, and photograph any results or reports of physical
                    or mental examinations, and of scientific tests or experiments, or
                    copies thereof, which are within the possession, custody or control
                    of the government, the existence of which is known, or by the
                    exercise of due diligence may become known, to the attorney for
                    the government, which are material to the preparation of the
                    defense or are intended for use by the government as evidence in
                    chief at trial; and




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               c)     disclosure of a written summary of testimony the government
                      intends to use under Fed. R. Evid. 702, 703, or 705, during its case in
                      chief at trial, including a description of the witnesses' opinions, the
                      bases and reasons therefore, and the witnesses' qualifications.

       Through pretrial discovery, the defense has learned that extensive forensic

evidence seized from Mr. Christensen’s car, apartment and person has been submitted

to various agencies for testing and analyses including:

               a)     DNA testing of known samples from the Defendant, the alleged
                      victim, the alleged victim’s father and boyfriend, and the
                      Defendant’s wife;

               b)     Forensic computer analyses relating to two laptops and four
                      associated electronic devices belonging to the Defendant and his
                      wife, and the alleged victim’s laptop;

               c)     Fingerprint analyses;

               d)     Trace evidence analyses regarding fibers, clothing, shoes, furniture,
                      appliances, and carpet samples recovered from the Defendant’s
                      apartment and/or vehicle;

               e)     Forensic analysis of telephone records originating from the
                      Defendant’s two cellular telephones, including but not limited to
                      historical cell site location data; and

               f)     Email account information, including but not limited to the
                      contents of all emails originating from the Defendant’s two email
                      addresses.

       This evidence was seized 4-5 months ago at various times between the middle of

June and the middle of July, yet neither the reports, associated raw data5 nor the

summaries required by F. R. Crim. P. 16(a)(1)(G) have been provided. In a capital case,




5
  Counsel has not yet requested underlying raw data but will do so promptly after receiving the
reports and analyses.

                                                8
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counsel is expected to “aggressively re-examine all of the government’s forensic

evidence, and conduct appropriate analyses of all other available forensic evidence.” See

ABA Death Penalty Guideline 10.7 – Investigation, Commentary, at 1015. Absent

disclosure of this Rule 16 material, counsel is unable to identify particular experts that

may be needed to conduct the required independent analyses.

       Counsel acknowledges that the government has timely delivered a significant

amount of discovery in this case and, in pointing out the delay in providing complete

Rule 16 discovery, does not imply a lack of good faith or dilatory action. Counsel

assumes that the delay is necessary and occasioned by circumstances beyond

government counsel’s control, including the schedules and workloads of experts doing

the testing and analyses. But, counsel does take issue with the government’s apparent

assumption that the defense should just be prepared to go forward irrespective of the

same problems of delay likely to be encountered by the defense, who, after all, do not

have a host of government agencies at its beck and call. As noted, the government has

already been examining forensic evidence between four and five months without

producing reports and there is no reason to think the defense will be able to proceed on

this front any more expeditiously. And, as noted, the forensics are only a piece of the

preparation counsel must address in this case. Under the circumstances of its own

delay, the government can hardly be heard to complain about the defense’s need for

adequate time to discharge its obligation to provide Mr. Christensen with the

representation required by the Sixth Amendment.




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       C.     Counsel Must Treat Case as Capital at this Point

       Implicit in the government’s position that the Court can reconsider the schedule

on February 1 if the government does not file a NOI, is the idea that defense counsel

need not treat this case as a capital prosecution unless and until the NOI is filed. Thus,

the government apparently assumes that counsel can just proceed on the assumption

that this is a non-capital case and the responsibilities inhering in the preparation of a

capital case will not come into play unless the NOI is filed. This assumption could not

be further from the truth and turns counsel’s responsibility on its head. Professional

standards require that “once a client is detained under circumstances in which the

death penalty is legally possible, counsel should proceed as if it will be sought . . . [and]

. . . must continue to treat the case as capital until the imposition of the death penalty is

no longer a legal possibility.” ABA Death Penalty Guidelines, at 994-995, Guideline 10.1

– Establishment of Performance Standards, Commentary. As discussed more fully

below, judicial policy promulgated by the Administrative Office of the U.S. Courts in

conjunction with the Judicial Conference also recognizes that immediate attention to the

requirements of a capital-case investigation may provide substantial benefits to the

Court and the public.

       Thus, in addition to the responsibilities of investigating a case where the

defendant faces a sentence of life without parole, counsel must also begin preparation of

a potential capital case and this cannot be postponed until February 1, as the

government apparently envisions. Furthermore, shutting one’s eyes to the potential

capital nature of this case and foregoing the responsibilities inherent in defense of a

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capital case until told otherwise by the government is likely to result in even more delay

if a NOI is later filed.

III.   The Authority Cited by the Government is Inapposite

       The cases cited at page 4 of the Response illustrate the danger of proffering

isolated passages of opinions, divorced from the underlying facts. None of the three

cases cited in the first full paragraph of page 4 of the Response have any compelling

relationship to the issue presented here.

       United States v. Farr, 297 F.3d 651, 655 (7th Cir. 2002), was a fraud case, where the

defendant was seeking a third continuance after deliberately refusing to cooperate with

his attorney in the preparation for trial. Not only is the last factor not present here, but

the need for a sufficient time to prepare is obviously more compelling in the case of a

defendant facing a minimum penalty of incarceration for the rest of his life than of a

defendant facing the consequences of an un-aggravated fraud conviction. Further, in a

misplaced exercise of adversarial zeal, after quoting an isolated sentence from the

opinion, the government chooses to omit the very next sentence, to wit: “At the same

time we note that ‘myopic insistence upon expeditiousness in the face of a justifiable

request for delay can render the right to defend with counsel an empty formality.’

[citation omitted].” Id. at 655.

       Morris v. Slappy, 461 U.S. 1 (1983), was a § 2254 review of a state court conviction

where the applicable standard of review for granting relief bears little resemblance to

the issue here. In cherry-picking the isolated quotation the government fails to alert the

reader that the request in Morris was made by the defendant himself on the first day of trial

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and that defendant’s counsel informed the Court that a further continuance would not benefit

him in preparing the case. Id. at 6-9, 11-12.

         Like Farr, United States v. Hanhardt, 155 F. Supp. 2d 861 (N.D. Ill. 2001), was a

property crime involving a conspiracy to commit jewelry theft. Once again, the issue

was not remotely similar to that presented here. Counsel there sought a continuance

(after several prior extensions had been granted) because of an alleged conflict with a

commercial arbitration hearing that was scheduled to commence thirteen days after Mr.

Hanhardt’s trial was to begin. The court denied the requested continuance only after

noting that there had been several prior extensions, the indictment had been returned

eleven months previously, criminal cases have precedence over civil and arbitrations in

any event are not federal or state judicial proceedings, the case involved multiple

defendants and counsel had made no showing that he had even attempted to continue

the arbitration matter. It is not apparent how this case provides any guidance to the

Court.

         Hanhardt does, however, cite a principle (unreferenced in the Response)

concerning requests for continuances that no one can reasonably dispute: “[E]ach

decision necessarily turns on the facts and circumstances of the case,” Id. at 867, quoting

United States v. Davis, 604 F. 474, 480 (7th Cir. 1979). In citing snippets from cases

involving far less serious consequences, different standards of review and easily

distinguishable factual patterns, the government brushes aside this obvious precept.

         The government next spends two pages of its Response knocking down a straw

man argument it alone creates, citing several cases holding that a defendant cannot

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judicially enforce the Department of Justice’s death penalty protocol (Protocol).

Response, at 5-7; see U.S.A.M. § 9.10.010 et seq. Attaching itself to this irrelevant

proposition, the government argues that in ruling on the requested continuance the

Court should therefore not consider the Protocol’s contemplation that a defendant

facing a potential capital charge should have a “reasonable opportunity to present

information to the United States Attorney . . . which may bear on the decision whether

to seek the death penalty.” Id., § 9.10.080.

       In taking this tact, the government wrongfully conflates the issue of the judicial

enforceability of the Protocol with the separate issue of whether the Court may consider

this provision of the Protocol in appropriate scheduling in a death penalty case. That

these two propositions are distinct is actually suggested by the Response, wherein the

government cites several cases at pages 5 and 6 to support its uncontested non–

enforceability argument, while proffering no authority supporting its argument in the

first paragraph on page 6 that the Court should not consider this factor in scheduling

decisions. And, as noted immediately below, judicial policy guidelines suggest that

district courts should consider the provisions of the Protocol concerning submissions to

the U.S. Attorney and the Department of Justice in setting schedules in a potential

capital case.

       That the government is unable to cite any such authority is unsurprising

inasmuch as this position runs counter to almost unanimous professional opinion, as

suggested by the previously-cited Guidelines of the American Bar Association and

judicial policy articulated by both the Administrative Office of the U.S. Courts and the

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Judicial Conference of the United States and intended as a guide to district court judges

in handling the complexity of capital cases.

      The Guide to Judiciary Policy, Vol 7 – Defender Services, Part A, Guidelines for

Administering the CJA and Related Statutes, Chapter 6, Representation in Death

Penalty cases, provides:

             § 670 Scheduling of Federal Death Penalty Case Authorization to
             Control Costs

             (a) Within a reasonable period of time after appointment of counsel
             under 18 U.S.C. § 3005(link is external), and only after consultation
             with counsel for the government and for the defendant (including, as
             appropriate, in an ex parte application or proceeding), the court should
             establish a schedule for resolution of whether the government will seek the
             death penalty.

             (b) This schedule should include dates for:

             (1) the submission by the defendant to the U.S. attorney of any reasons why
             the government should not seek the death penalty;

             (2) the submission by the U.S. attorney to the appropriate officials of
             the DOJ of a recommendation and any supporting documentation
             concerning whether the death penalty should be sought; and

             (3) filing of a notice under 18 U.S.C. § 3593(a)(link is external) that the
             government will seek the death penalty, or notification to the court
             and the defendant that it will not.

             (c) The schedule should be flexible and subject to extension for good cause at
             the request of either party (again, as appropriate, in an ex parte
             application or proceeding).

             (d) The schedule should allow reasonable time for counsel for the parties to
             discharge their respective duties with respect to the question of whether the
             death penalty should be sought, with due regard to:
             • the factual complexity of the case;
             • the status of any continuing investigation of the crimes and related
             criminal conduct;

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              • the anticipated or actual progress of discovery;
              • the potential for successful plea negotiations; and
              • any other relevant factors.

              (e) It is also recognized that scheduling extensions may be necessary because
              the full development of facts related to guilt and aggravating and mitigating
              factors may continue even after the case is submitted to the DOJ for review.

See http://www.uscourts.gov/rules-policies/judiciary-policies/cja-

guidelines/chapter-6-ss-670-scheduling-federal-death-penalty (Emphasis added).

       Attached as Appendix 6A to this provision of the Judiciary Policy Guide is a

report entitled Federal Death Penalty Cases: Recommendations Concerning the Cost And

Quality of Defense Representation, otherwise known as the Updated Spencer Report

(Spencer Report) and also setting forth recommendations for district courts in presiding

over capital cases.6 As to the relationship of scheduling and the decision-making

process, the Spencer report notes:

               Courts should ensure, however, that whatever decision-making timetables
               are imposed are sufficient to allow for meaningful preauthorization
               advocacy by counsel for the defendant. Where authorization to seek the
               death penalty is significantly likely, the prosecution and defense should
               be given every opportunity to explore the reasons for not authorizing or
               for negotiating an early disposition of the case.

http://www.uscourts.gov/sites/default/files/vol07a-ch06-appx6a_0.pdf , at

106-107. (Emphasis added).



6
 The initial Spencer Report was first approved by the Defender Services Committee of the
Administrative Office of the U.S. Courts before its submission to, and approval by, the Judicial
Conference. In 2010, the Defender Services Committee endorsed revised commentary to the
1998 recommendations. The 2010 recommendations and revised commentary set forth in
Appendix 6A to the Judiciary Policy Guide, have not yet been approved by the Judicial
Conference. See http://www.uscourts.gov/rules-policies/judiciary-policies/cja-
guidelines/chapter-6-ss-610-overview, § 610.20 Judicial Conference Recommendations.

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       Setting a schedule that affords defense counsel full opportunity to conduct

a mitigation investigation sufficient to provide meaningful input on the

authorization decision is also sound fiscal policy:

               Since an early decision not to seek death is the least costly way to
               resolve a potential capital charge, a prompt preliminary investigation
               leading to effective advocacy with the local U.S. Attorney and with the
               Justice Department is critical both to a defendant’s interests and to sound
               fiscal management of public funds. And, since the local prosecutor’s
               recommendation most often prevails with the Attorney General, the
               opportunity to persuade the U.S. Attorney not to request capital
               authorization is extremely important.

Id. 93. (Emphasis added).

       Professional standards similarly caution:

               [E]arly investigation to determine weaknesses in the State’s case and
               uncover mitigating evidence is a necessity and should not put be off
               in the hope that the death penalty will not be requested, or that the
               request will be dropped at a later point. . . . Moreover, early
               investigation “may uncover mitigating circumstances or other information
               that will convince the prosecutor to forego pursuit of a death sentence.”

See ABA Death Penalty Guidelines, at 913, 994, Guideline 10.2, Commentary.7

       Finally, these considerations are not only consistent with, but inherent in

the Department of Justice’s Protocol, which directs the US Attorney to file a

memorandum with DOJ analyzing, inter alia, both the statutory aggravating and

mitigating factors after providing defense counsel a reasonable opportunity to

present information. U.S.A.M. § 9-10.080.



7
  See also id, at 957, n. 97, noting that devoting significant resources to early investigation may
result in significant cost savings if the case is “taken off the capital track.”



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IV.    Speedy Trial Act and Constitutional Considerations

       The government correctly identifies the seven non-exhaustive factors the Seventh

Circuit has directed district courts to weigh in ruling on continuance motions. Response,

at 4, citing U.S. v. Isaacs, 593 F.3d 517, 525 (7th Cir 2010). But, after listing the factors the

government makes no attempt to discuss their applicability, instead reasoning that the

analysis can be postponed until the government decides whether to file a NOI. Response,

at 7-8. For the reasons already stated, a continuance at this time is necessary to meet the

ends of justice and avoid a miscarriage of justice irrespective of whether the

government ultimately files a NOI. Analysis of these factors also suggests a tactical

reason for the government to avoid a particularized analysis of their applicability, as

they overwhelming weigh in favor of a substantial continuance at this time:

               1) The amount of time available for preparation: the total amount
                  of time necessary for preparation in a serious case with a
                  minimum sentence of life without parole, requiring both a wide-
                  ranging investigation, analysis of potentially numerous items of
                  forensic evidence, selection and preparation of defense experts
                  and extensive motion preparation is significant. And, as noted,
                  counsel must also treat this case as a potential capital
                  prosecution until notified differently by the government. Finally,
                  the government’s suggestion that the preparation time should be
                  analyzed from the time Mr. Christensen first appeared with
                  counsel on July 3, 2017, see Response, at 2, is unfair, as the
                  government well knows that present counsel had no
                  involvement with this case before September 8, 2017;

               2) The likelihood of prejudice from denial: Without adequate time
                  to prepare, the defendant (even in a non-capital case) risks up to
                  life imprisonment, thus intensifying the risk of prejudice should
                  he be forced into trial unprepared;

               3) The defendant’s role in shortening the effective preparation time:
                  There is no suggestion that Mr. Christensen has had any role in

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        delaying the processing of this case. Compare United States v. Farr,
        supra, cited by the government, where the delay was caused in
        large part by the defendant’s refusal to cooperate with counsel in
        preparing the case.

     4) The degree of complexity of the case: As noted, this is a complex
        case, requiring not only extensive factual investigation but also
        presenting several potential complicated areas of expert
        evidence and an extensive motion practice not presented in an
        ordinary case, including potential motions involving the
        selection of a jury and location of trial due to the extensive
        publicity that has been generated. Further, the appointment of
        learned counsel itself is a recognition of the complicated nature
        of the case.

     5) The availability of discovery from the prosecution. This has been
        discussed in Part II-B above and is another factor weighing
        heavily in favor of a continuance.

     6) The likelihood that a continuance would satisfy the movant’s
        needs: For the reasons stated above, a continuance is necessary
        for counsel to adequately provide the effective assistance of
        counsel required by the Sixth Amendment and applicable
        professional standards and thus a continuance for an
        appropriate period of time is necessary to satisfy those needs.
        Compare Morris v. Slappy, supra, cited by the government, where
        defense counsel told the Court that the continuance requested by
        the defendant would not benefit his preparation.

        In this regard, counsel notes that they are familiar with and take
        seriously their ethical responsibilities not to seek delay unless
        such is necessary to discharge the obligations imposed on them
        by the Sixth Amendment and the appropriate standards cited
        above. See ABA Standards for Criminal Justice: Prosecution and
        Defense Function, supra, Standard 4-1.3(c & d) (defense counsel
        should not mislead the court to obtain a continuance or
        intentionally use procedural devices for delay when there is no
        legitimate basis); Illinois Rules of Professional Conduct, Rule
        3.3(a)(1) (attorney shall not “make a material statement of fact
        and law to a tribunal which the lawyers knows or reasonably
        should know is false.”);
        https://www.law.cornell.edu/ethics/il/code/IL_CODE.HTM#
        Rule_3.3.

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              7) The inconvenience and burden to the Court and its pending
                 caseload: While the motion for a continuance is untethered to the
                 Court’s caseload, the defense has no reason to believe that
                 rescheduling this trial for the fall of 2018 will otherwise burden
                 this Court’s caseload.

       The defense moves that the trial date be continued until the fall of 2018.

This will result in exclusion of any delay for Speedy Trial Act purposes. 18 U.S.C.

§ 3161(h)(7). Further, the defense anticipates that this case will require numerous

motions. Delay from the filing of such motions until their disposition will also be

excluded. 18 U.S.C. § 3161(h)(1)(D). In this regard, the defense notes the 7th

Circuit’s recognition in United States v. O’Connor, 656 F.3d 630, 639 (7th Cir. 2011)

that the ends of justice provision of § 3161(h)(7) is appropriately invoked to allow

defense counsel to “understand the government’s case, analyze the evidence, and

decide what motions might be appropriate.”

       Finally, irrespective of whether a NOI is ultimately filed, the potential

capital nature of this case implicates Mr. Christensen’s Sixth Amendment right to

the effective assistance of counsel. Cf. Rompilla v.Beard, 545 U.S. 374 (2005);

Wiggins v. Smith, 539 U.S. 510 (2003); Strickland v Washington, 466 U.S. 668 (1984).

V.     Requested Relief

       Mr. Christensen, through his counsel, seeks an Order that:

       1) the trial date be continued until fall of 2018. The defendant suggests a date in

          October that is consistent with the Court’s calendar;




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       2) the government provide all discovery required by Rule 16 no later than

           January 1, 2018, unless it makes a satisfactory showing why it is unable to do

           so;

       3) the government provide any Notice of Intent to Seek Death no later than July

           1, 2018.8 In the event a NOI is filed, the Court will promptly schedule a

           hearing to set a schedule taking into account the NOI;

       4) the government promptly notify the defense and the Court in the event that it

           decides prior to July 1, 2018, not to seek the death penalty. In that event, either

           party may move for reconsideration of the trial date;

       5) the parties meet and confer no later than December 1, 2017, concerning an

           appropriate schedule for filing non-capital related motions.

A proposed order to this effect is attached hereto. See Exhibit A.




8
  In its Motion, at 6, the defense asks the Court to set a deadline of April 1, 2018, to submit
materials to the Capital Case Committee at the Department of Justice, “with an expected
authorization decision within the following 90 days.” See U.S.A.M. 9-10.060 (U.S. Attorney
“must submit a capital-eligible case for review no fewer than 90 days before the Government is
required, by an order of the court, to file a notice that it intends to seek the death penalty.”).
Thus, if the Court sets a deadline of July 1, 2018, for the Government to file any NOI, the case
must be submitted to the Capital Case Committee by April 1, 2018, as contemplated in the
Motion.

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      WHEREFORE, the Defendant respectfully requests that this Court grant the

relief requested in his Motion to Continue, and for any other relief the Court deems

appropriate.

                                  Respectfully submitted,

                                  BRENDT A. CHRISTENSEN, Defendant

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                             CERTIFICATE OF SERVICE

      I hereby certify that on November 7, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A

copy was also mailed to the defendant.

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